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                                       #:4385


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 8
     Attorneys for Applicant
 9   UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12
     IN RE: WRIT OF HABEAS CORPUS AD         No. 2:24-cr-00570
13   PROSEQUENDUM
                                             GOVERNMENT’S NOTICE OF WITHDRAWAL
14                                           OF DOCUMENTS NO. 956 AND 957
15                                           (UNDER SEAL)
16

17        PLEASE TAKE NOTICE THAT applicant United States of America, by
18   and through its counsel of record, the United States Attorney for the
19   Central District of California and Assistant United States Attorney
20   Reema el-Almamy, hereby withdraws its MOTION FOR WRIT OF HABEAS
21   CORPUS AD PROSEQUENDUM,
22   //
23   //
24   //
25   //
26   //
27

28
     Case 2:24-cr-00570-WLH   Document 963 Filed 02/18/25   Page 2 of 2 Page ID
                                      #:4386


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 3   WRIT OF HABEAS CORPUS, and ORDER ON APPLICATION FOR WRIT OF HABEAS

 4   CORPUS, filed on February 16, 2025 at documents number 956 and 957

 5   under case number 2:24-cr-00570.

 6

 7
     Dated: February 18, 2025            Respectfully submitted,
 8
                                         JOSEPH T. MCNALLY
 9                                       Acting United States Attorney
10                                       DAVID T. RYAN
                                         Assistant United States Attorney
11                                       Chief, National Security Division
12
                                          /s/
13                                       REEMA EL-ALMAMY
                                         Assistant United States Attorney
14
                                         Attorneys for Applicant
15                                       UNITED STATES OF AMERICA
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